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    6     Telephone: (619) 765-4380
          Facsimile: (619) 483-0646
    7
          Attorneys for Specially Appearing Defendants
    8     Caydon San Diego Property LLC, Caydon
          USA Holding LLC, Caydon USA Property
    9     Group LLC, and Matthew Hutton
   10
                               UNITED STATES DISTRICT COURT
   11
                             SOUTHERN DISTRICT OF CALIFORNIA
   12
          THE PEOPLE OF THE STATE OF                 CASE NO.: 23-cv-01020-LAB-DDL
   13     CALIFORNIA and CITY OF SAN
          DIEGO, a municipal corporation,            DECLARATION OF ELIZABETH A.
   14                                                SPERLING IN SUPPORT OF
                             Plaintiffs,             DEFENDANTS’ EX PARTE
   15                                                APPLICATION TO EXTEND TIME
          v.                                         TO RESPOND TO COMPLAINT
   16
          CAYDON SAN DIEGO PROPERTY                  [Filed concurrently with Ex Parte
   17     LLC, a Delaware Limited Liability          Application and (Proposed) Order]
          Company; CAYDON USA HOLDING
   18     LLC, a Texas Foreign Limited Liability     Date filed: April 27, 2023
          Company and a Delaware Limited             Removal date: June 1, 2023
   19     Liability Company; CAYDON USA
          PROPERTY GROUP, LLC, a Delaware
   20     Limited Liability Company; MATTHEW
          HUTTON, Receiver and Manager of
   21     CAYDON USA PROPERTY GROUP
          HOLDINGS PTY LTD; and DOES 1
   22     through 50, inclusive,
   23                        Defendants.
   24

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          DECLARATION OF ELIZABETH A. SPERLING IN SUPPORT OF DEFENDANTS’ EX PARTE APPLICATION TO
                                 EXTEND TIME TO RESPOND TO COMPLAINT
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 1                    DECLARATION OF ELIZABETH A. SPERLING
 2          I, Elizabeth A. Sperling, declare as follows:
 3          1.     I am an attorney duly licensed to practice law before all courts of the State
 4    of California and in the Southern District of California and am a partner of Glaser Weil
 5    Fink Howard Jordan & Shapiro LLP, attorneys of record for Specially Appearing
 6    Defendants Caydon San Diego Property LLC (“Caydon San Diego”), Caydon USA
 7    Holding LLC (“Caydon USA Holding”), Caydon USA Property Group LLC (“Caydon
 8    USA Property Group”), and Matthew Hutton (collectively, “Defendants” or “Caydon”)
 9    in this matter. This declaration is submitted in support of Defendants’ Ex Parte
 10   Application to Extend Time to Respond to the Complaint. I have personal knowledge
 11   of the facts set forth in this declaration and, if called as a witness, could and would
 12   testify competently to such facts under oath.
 13         2.     On April 27, 2023, Plaintiffs commenced this action by filing a complaint
 14   against Caydon in the Superior Court of the State of California, County of San Diego,
 15   entitled The People of the State of California, et al. v. Caydon San Diego Property LLC,
 16   et al., Case No. 37-2023-00017820-CU-MC-CTL.
 17         3.     On May 2, 2023, Plaintiffs served the Complaint on Caydon San Diego
 18   through its registered agent for service.
 19         4.     On May 3, 2023, Plaintiffs served the Complaint on Caydon USA Holding
 20   and Caydon USA Property Group through their respective registered agents for service.
 21         5.     On behalf of Caydon, I timely filed a notice of removal and removed the
 22   action to federal court on June 1, 2023, making the Caydon Defendants’ responses to
 23   the Complaint due June 8, 2023. Hence, there is an exigency for this request.
 24         6.     I have had several discussions prior to the City Attorneys filing the instant
 25   action explaining to them that Caydon USA Holding, Caydon USA Property Group,
 26   and Matthew Hutton are not proper parties to this action and they are not subject to
 27   personal jurisdiction in California. I requested that the City Attorneys not name them
 28   as parties if they proceeded to file the action. They refused.
                                                2
      DECLARATION OF ELIZABETH A. SPERLING IN SUPPORT OF DEFENDANTS’ EX PARTE APPLICATION TO
                             EXTEND TIME TO RESPOND TO COMPLAINT
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 1          7.     I did meet and confer with Plaintiffs’ counsel prior to filing this
 2    application. On May 23, 2023, I emailed the City Attorneys that, as I had previously
 3    discussed at length with them, we would be filing a motion to dismiss for lack of
 4    personal jurisdiction as to Caydon USA Holding, Caydon USA Property Group, and
 5    Matthew Hutton who are all improper parties to this action. I asked if the City Attorneys
 6    would stipulate to a 60-day extension of the deadline to respond to the Complaint in
 7    order to file the motion and explained why additional time was needed. I also requested
 8    that the time for Caydon San Diego to answer be extended pending the Court’s
 9    determination of the motion. This was the first such extension I requested in this case.
 10   A true and correct copy of my email is attached as Exhibit 1.
 11         8.     On May 24, 2023, the City Attorneys responded summarily rejecting my
 12   request stating: “[W]e will not stipulate to any extension of time. Please file your
 13   answer within the time frame provided by statute.” See Ex. 1.
 14         9.     The Caydon Defendants are Delaware Limited Liability Companies with
 15   their principal places of business in Houston, Texas. Ultimately, the Caydon
 16   Defendants are part of Caydon USA Property Group Pty Ltd, which is an Australian
 17   company with its principal place of business in Australia. The client representatives for
 18   the Caydon Defendants reside in and are citizens of Australia.
 19         10.    Caydon USA Property Group Pty Ltd is in bankruptcy in Australia and an
 20   Australian receiver (McGrathNicol) has been appointed to manage the liquidation and
 21   receivership of the company and its various subsidiaries, including the Caydon
 22   Defendants. Accordingly, all decisions regarding the companies’ legal affairs and all
 23   matters pertaining to this litigation must be coordinated, reviewed and approved by the
 24   receivers. It is difficult enough to coordinate with clients in other states; it is much more
 25   difficult and time-consuming to coordinate a defense on behalf of multiple client
 26   entities whose ultimate parent is in Australia and that is being handled by receivers due
 27   to bankruptcy.
 28         11.    I am requesting on behalf of my clients in good faith a sixty (60) day
                                                3
      DECLARATION OF ELIZABETH A. SPERLING IN SUPPORT OF DEFENDANTS’ EX PARTE APPLICATION TO
                             EXTEND TIME TO RESPOND TO COMPLAINT
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 1    extension to respond to the Complaint, or such other time as the Court determines is
 2    reasonable, because I will need additional time to coordinate with Caydon’s client
 3    representatives and the receivers, who are all located in Australia, in order to gather the
 4    necessary declarations and evidence supporting Defendants’ motion to dismiss for lack
 5    of personal jurisdiction and motion to quash.
 6          12.       Additionally, I was informed on May 31, 2023, that my principal contact
 7    with the receivers is out on leave and unavailable for at least three weeks beginning
 8    today, June 1, 2023. This will make it near impossible for me to obtain the necessary
 9    authorizations and declarations during that time.
 10         13.       I also just learned on May 29, 2023, that the City Attorneys purported to
 11   serve Matthew Hutton with process by mail on May 30, 2023 (in Australia)—even
 12   though Mr. Hutton resides in and is a citizen of Australia, he has not consented to
 13   service, and he contests personal jurisdiction in this matter.
 14         14.       I will, therefore, be preparing a motion to quash service on Mr. Hutton’s
 15   behalf based on Plaintiffs’ failure to comply with the applicable international service
 16   of process rules. As this purported service attempt occurred only a couple days ago, I
 17   need time to discuss the matter with Mr. Hutton and prepare the motion and necessary
 18   declarations.
 19         15.       Except as set out in the ex parte application, the requested continuance will
 20   not affect other case management dates.
 21         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws
 22   of the United States of America that the foregoing is true and correct and that this
 23   declaration is executed on June 2, 2023 in San Diego, California.
 24

 25
                                                /s/ Elizabeth A. Sperling
                                              Elizabeth A. Sperling
 26

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      DECLARATION OF ELIZABETH A. SPERLING IN SUPPORT OF DEFENDANTS’ EX PARTE APPLICATION TO
                             EXTEND TIME TO RESPOND TO COMPLAINT
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        EXHIBIT 1
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 From:            Miller, David
 To:              Elizabeth Sperling
 Cc:              Brannan, Gabriela
 Subject:         RE: 1122 4th Ave [California Theater]
 Date:            Wednesday, May 24, 2023 9:52:36 AM
 Attachments:     image002.png


Elizabeth,

It is and has been my opinion that the parties named in the complaint are the correct parties. We do
not intend to remove any party and will oppose any motion asking to do so. Further, we will not
stipulate to any extension of time.

Please file your answer within the time frame provided by statute.

David E. Miller
Deputy City Attorney
Office of the City Attorney
Community Justice Division
Nuisance Abatement Unit
1200 Third Avenue, Suite 700
San Diego, CA 92101
(619) 533-6123


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From: Elizabeth Sperling <esperling@glaserweil.com>
Sent: Tuesday, May 23, 2023 4:52 PM
To: Miller, David <MillerDE@sandiego.gov>
Cc: Brannan, Gabriela <GBrannan@sandiego.gov>
Subject: [EXTERNAL] RE: 1122 4th Ave [California Theater]

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opening attachments.**


David – thank you for bringing this to my attention. I was not aware of this.

I left a voice mail for you yesterday. I called to discuss with you that, as we had previously advised,
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                                                   WĂŐĞϭ
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we will be filing a motion to dismiss Caydon USA Holding LLC, Caydon USA Property Group, LLC, and
Matthew Hutton as Receiver and Manager of Caydon USA Property Group Holdings PTY Ltd for lack
of personal jurisdiction. Will you stipulate to a 60-day extension of our deadline to file given the
time it will take me to get declaration(s) and pull together the evidence needed for this? And,
because I don’t think it makes sense for Caydon San Diego Property LLC to have to answer the
complaint while the motion is pending, I want to ask if you’ll stipulate that its deadline to answer the
complaint be extended to 14 days after the court rules on the motion to dismiss. Please let me
know. Thank you.




Elizabeth Sperling | Partner
San Diego: 501 W. Broadway, Suite 800, San Diego, CA 92101
Main: 619.765.4380 | Direct: 619.762.5953 | Fax: 619.732.3496

Century City: 10250 Constellation Blvd., 19th Floor, Los Angeles, CA 90067
Main: 310.553.3000 | Direct: 310.556.7860 | Fax: 310.843.2660

E-Mail: esperling@glaserweil.com | www.glaserweil.com


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    1                                     PROOF OF SERVICE
    2                     STATE OF CALIFORNIA, COUNTY OF SAN DIEGO
    3           I am employed in the County of Los Angeles, State of California; I am over the
          age of 18 and not a party to the within action; my business address is 10250
    4     Constellation Boulevard, 19th Floor, Los Angeles, California 90067.
    5           On June 2, 2023, I served the foregoing document(s) described as
    6     DECLARATION OF ELIZABETH A. SPERLING IN SUPPORT OF
          DEFENDANTS’ EX PARTE APPLICATION TO EXTEND TIME TO
    7     RESPOND TO COMPLAINT on the interested parties to this action by delivering
    8     thereof in a sealed envelope addressed to each of said interested parties at the
          following address(es):
    9

   10
                                          SEE ATTACHED LIST

   11
          :     (BY MAIL) I am readily familiar with the business practice for collection and
                processing of correspondence for mailing with the United States Postal Service.
   12
                This correspondence shall be deposited with the United States Postal Service
                this same day in the ordinary course of business at our Firm's office address in
   13
                Los Angeles, California. Service made pursuant to this paragraph, upon
                motion of a party served, shall be presumed invalid if the postal cancellation
   14
                date of postage meter date on the envelope is more than one day after the date
                of deposit for mailing contained in this affidavit.
   15
                (BY ELECTRONIC SERVICE) by causing the foregoing document(s) to be
   16
                electronically filed using the Court’s Electronic Filing System which
                constitutes service of the filed document(s) on the individual(s) listed on the
   17
                attached mailing list.

   18
          :     (BY E-MAIL SERVICE) I caused such document to be delivered
                electronically via e-mail to the e-mail address of the addressee(s) set forth in
   19
                the attached service list.

   20
                (BY OVERNIGHT DELIVERY) I served the foregoing document by FedEx,
                an express service carrier which provides overnight delivery, as follows: I
   21
                placed true copies of the foregoing document in sealed envelopes or packages
                designated by the express service carrier, addressed to each interested party as
   22
                set forth above, with fees for overnight delivery paid or provided for.

   23
                (State)    I declare under penalty of perjury under the laws of the State of
                           California that the above is true and correct.
   24
          :     (Federal) I declare that I am employed in the office of a member of the bar of
   25
                         this court at whose direction the service was made. I declare under
                         penalty of perjury that the above is true and correct.
   26           Executed on June 2, 2023, at Los Angeles, California.
   27

   28
                                                        Elizabeth Koch-Lenaire
                                                     1
                                              PROOF OF SERVICE
2292562
 Case 3:23-cv-01020-LAB-DDL Document 5 Filed 06/02/23 PageID.156 Page 9 of 9



    1                                 SERVICE LIST
    2     MARA W. ELLIOTT, City Attorney       Attorneys for Plaintiffs
          PAIGE E. FOLKMAN, Assistant City     The People of the State of California and
    3     Attorney                             City of San Diego
          DAVID E. MILLER, Deputy City
    4     Attorney
          Office of the City Attorney
    5     Community Justice Division /
          Nuisance Abatement Unit
    6     1200 Third Avenue, Suite 700
          San Diego, California 92101-4103
    7     Telephone: (619) 533-5500
          Fax: (619) 533-5505
    8     Email: PFolkman@sandiego.gov
          MillerDE@sandiego.gov
    9

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                                             2
                                      PROOF OF SERVICE
2292562
